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EXHIBIT S

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JEAN LAWNICZAK, as Personal
Representative of the ESTATE OF
JOHN ORLANDO, Deceased

CIVIL ACTION NO. 2117-cv-00185

Plaintiff,
HONORABLE LISA PUPO LENIHAN

ALLEGHENY COUNTY,
ORLANDO HARPER, SIMON
WAINWRIGHT and/or JOHN

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)

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v. )
)

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)

)

and/or JANE DOE )
)

Defendants

DEFENDANT’S ANSWERS T() PLAINTIFF’S FIRST SET OF INTERROGATORIESz
RESPONSES T() REOUESTS FOR PRODUCTION OF DOCUMENTS, REOUEST FOR
ADMISSION AND REOUEST FOR INSPECTION

The Plaintiff hereby requests that the Defendants answer the following Interrogatories
within thirty (30) days of service hereof, in writing and under oath, in accordance with Rule 33
and \34 of the Federal Rules of Civil Procedure.

These discovery requests are intended to be continuing in nature, and the Defendants’
responses are to be supplemented and/or corrected in the event that additional information is
obtained at any later date up to and including the time of trial.

The Defendants are hereby notified that the Plaintiff will request that the Court preclude the
Defendants from introducing at trial any evidence relating to the subject matter of these

Interrogatories which has not been disclosed by the Defendants’ answers or supplemental answers

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15. Please provide a copy of a map and/or blueprint of the facility that show the proximity of
the detox unit to the suicide watch unit.

RESPONSE:.

The Mental Health Unit is Pod SF and the Acute Mental Health unit (suicide watch) is Pod
SC. Both units are on level five of the Allegheny County Jail, and there are approximately
100 feet apart.

16. Please provide photographs of the facility that show the detoX area and the suicide watch
area.

RESPONSE:

The deceased was in the Mental Health Unit, part SF. He was not in the “detox” area, which

is Pod SB.
III. REQUESTS FOR ADMISSION
l. Admit that the Defendant’s Jail possessed facilities/an area designated for suicide

watch/suicidal inmates
RESPONSE: Admitted.

2. Admit that Plaintiff` s Decedent made suicidal ideations during the intake procedure in
question
RESPONSE: Denied. The deceased statements speak for themselves. He was not
evaluated as being suicidal When he left the intake area.

3. Admit that Plaintift` s Decedent expressed a dependency on drugs and/or having a
substance abuse problem during the intake procedure in question
RESPONSE: Denied. Orlando made conflicting statements regarding his drug use.

Plaintiff’ s decedent was not evaluated as requiring “suicide Watch.”

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4. Admit that Plaintiff’ s Decedent was not placed on suicide watch.
RESPONSE: Admitted. Plaintiff’s decedent Was not evaluated as requiring “suicide
watch.” However, he Was double-celled until shortly before his suicide and guards

make rounds every 15 minutes on Pod SF.

IV. REOUEST FOR INSPECTION
1. Plaintiff requests an examination and inspection of the Defendant’s Jail with respect to the
intake department, detox unit and suicide watch unit.
RESPONSE: Defendant’s will consider request for inspection at appropriate time, in the
alternative the defendants may provide drawings or sketches of the units, start up, the intake

department, detox unit and suicide watch unit.

LAW OFFICES OF JOEL SANSONE

s/Massimo A. Terzigni
Massirno A, Terzigni, Esquire

PA ID NO. 317165

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PA ID No. 41008
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Dated: October 24, 2017

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As to the Answers Only:
Respectfully submitted,

/s/ John A. Bacharach, Esquire

PA ID No. 19665

Assistant Solicitor

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Novernber 14, 2017

